     Case 2:19-cv-12622-CJB-KWR Document 62 Filed 09/23/21 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA



 JUDITH DARBY                                          CIVIL ACTION


 VERSUS                                                NO: 19-12622


 DAVID G. SNOW, ET AL.                                 SECTION: “J”(1)

                                     ORDER

      Considering the foregoing Motion to Withdraw as Counsel (Rec. Doc. 58),

      IT IS HEREBY ORDERED that the Motion to Withdraw as Counsel of

Record filed by Gregory S. Marsiglia, counsel for Defendant David G. Snow in the

above-captioned matter, is hereby GRANTED.        Gregory S. Marsiglia is hereby

removed as counsel of record for Defendant Snow in the above-captioned matter.

      IT IS FURTHER ORDERED that within thirty (30) days Defendant David

G. Snow shall notify the Court whether he intends to enroll new counsel or proceed

pro se in this matter. The Clerk of Court is ordered to serve notice of this Order

directly on Defendant Snow at the following address:

                         2421 Royal Street
                         New Orleans, Louisiana 70117
                         Phone Number: 504-299-8815
                         Email Address: davidlgasnow@hughes.net


      New Orleans, Louisiana this 23rd day of September, 2021.




                                           CARL J. BARBIER
                                           UNITED STATES DISTRICT JUDGE
